        Case 3:25-cv-00083-DCG             Document 7     Filed 03/19/25      Page 1 of 4




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

 MELIKA MOHAMMADI GAZVAR                          §
 OLYA,                                            §
                                                  §
                Petitioner,                       §
 v.                                               §
                                                  §
 ANGEL GARITE, Assistant Field Office             §             EP-25-CV-00083-DCG
 Director, El Paso Field Office, El Paso          §
 Service Processing Center; MARY DE               §
 ANDA-YBARRA, Field Officer Director,             §
 El Paso Field Office, ICE; TODD LYONS,           §
 Acting Director, ICE; KRISTI NOEM,               §
 Secretary of Homeland Security; and              §
 PAMELA BONDI, United States Attorney             §
 General.                                         §
                                                  §
                Respondents.                      §
                                                  §

                                   MEMORANDUM ORDER

       Before the Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241 filed by

counsel on behalf of Petitioner Melika Mohammadi Gazvar Olya. (ECF No. 1) Because Petitioner

alleges that she has been in post-removal order detention for over six months and her removal

cannot be effectuated, the Petition will be SERVED on the Government.

                                            Background

       Petitioner is a 22-year-old woman from Iran, who is currently an immigration detainee in

the custody of the U.S. Immigration and Customs Enforcement in El Paso, Texas. Petition, ECF

No. 1 at 1, 4. Petitioner alleges that she has been in post-removal order detention since August 19,

2023. Id. at 1. She asserts that her continued detention is unconstitutional under Zadvydas v.

Davis, 533 U.S. 678, 701 (2001) and requests immediate release from detention with reasonable

conditions of supervision. Id. at 2, 12.


                                                 1
         Case 3:25-cv-00083-DCG            Document 7        Filed 03/19/25      Page 2 of 4




         Petitioner requests that the Court order Respondents to “show cause” within three days as

to why the writ should not be issued. Id. at 13. Further, she requests a stay of removal and to

enjoin Respondents from transferring her to a different facility outside this judicial district. Id. at

14.

                                          Law and Analysis

      1. Ordering Respondents to Show Cause

         28 U.S.C. § 2241 grants this Court jurisdiction to hear habeas corpus petitions from aliens

claiming they are held “in violation of the Constitution or laws or treaties of the United States.”

28 U.S.C. § 2241(c)(3); see also Zadvydas v. Davis, 533 U.S. 678, 687 (2001). Section 2243

provides, in relevant part:

            A court, justice or judge entertaining an application for a writ of habeas
            corpus shall forthwith award the writ or issue an order directing the
            respondent to show cause why the writ should not be granted, unless it
            appears from the application that the applicant or person detained is not
            entitled thereto.

            The writ, or order to show cause shall be directed to the person having
            custody of the person detained. It shall be returned within three days unless
            for good cause additional time, not exceeding twenty days, is allowed.

28 U.S.C. § 2243.

         Courts have held that the strict time limits set forth in § 2243, a provision enacted in 1948,

are subordinate to the district court’s authority to set deadlines under Rule 4 of Rules Governing

Section 2254 Cases in the United States District Courts, which Congress approved in 1976. See

Y.V.S. v. Wolf, No. EP-20-CV-00228-DCG, 2020 WL 4926545, at *1 (W.D. Tex. Aug. 21, 2020);

see also Diaz-Ortega v. Lund, No. 1:19-CV-670-P, 2019 WL 13292924, at *2 (W.D. La. June 28,

2019) (same); see also Martin v. Hebert, No. 21-CV-208, 2021 WL 299198, at *1 (W.D. La. Jan.

28, 2021) (same). It is the Court’s view that allowing Respondents more time to conduct a full



                                                   2
        Case 3:25-cv-00083-DCG            Document 7        Filed 03/19/25      Page 3 of 4




review of all available and pertinent evidence is reasonable. Accordingly, Respondents shall show

cause within fourteen days of this Order.

   2. Stay of Removal Proceedings

       As to Petitioner’s request that the Court stay her removal, the Fifth Circuit has determined

that district courts lack jurisdiction to consider requests for a stay of removal. Idokogi v. Ashcroft,

66 F. App’x 526 (5th Cir. 2003) (per curiam); see also Moreira v. Mukasey, 509 F.3d 709, 712

(5th Cir. 2007) (“The passage of the REAL ID Act divested district courts of jurisdiction over

removal orders and designated the courts of appeals as the sole forums for such challenges via

petitions for review.”) (citations omitted). Thus, the Court lacks jurisdiction to consider staying

her final order of removal.

   3. Enjoining Respondents from Transferring Petitioner

       Petitioner also requests that this Court enjoin Respondents from transferring her to another

facility. Petition, ECF No. 1, at 14. Federal Rule of Civil Procedure 65 provides, in pertinent part,

the following:

       (1) Issuing Without Notice. The Court may issue a temporary restraining order without
           written or oral notice to the adverse party or its attorney only if:

       (A) specific facts in an affidavit or a verified complaint clearly show that immediate and
           irreparably injury, loss, or damage will result to the movant before the adverse party
           can be heard in opposition; and

       (B) the movant’s attorney certifies in writing any efforts made to give notice and the
           reasons why it should not be required.

       FED. R. CIV. P. 65. Petitioner has failed to comply with the basic requirements of Rule 65.

Petitioner also does not allege that immediate or irreparable injury, loss, or damages will occur

without a TRO prohibiting Petitioner’s transfer to another facility. Moreover, Petitioner provides

no authority for the Court to enjoin ICE from transferring her to another facility. Nonetheless,



                                                  3
        Case 3:25-cv-00083-DCG            Document 7       Filed 03/19/25       Page 4 of 4




Petitioner’s physical presence in this district is not required for the adjudication of her Petition.

The transfer of Petitioner would not destroy the Court’s jurisdiction over her habeas claim.

Jurisdiction attaches upon filing of a habeas petition, and it is not destroyed upon the subsequent

transfer or custodial change of the petitioner. McClure v. Hopper, 577 F.2d 938, 939–40 (5th Cir.

1978), cert. denied, 439 U.S. 1077 (1979).

       Accordingly,

       IT IS ORDERED that Respondents SHALL FILE a response to the petition (ECF No. 1)

no later than April 2, 2025.

       IT IS FURTHER ORDERED that Petitioner may file a reply to Respondents’ response,

provided that the reply is filed no later than ten (10) days after the date of service of Respondent’s

response.

       IT IS FINALLY ORDERED that the Clerk’s Office shall furnish the Office of the United

States Attorney in El Paso, Texas, with copies of the Petition (ECF No. 1) and the instant

Memorandum Order, and that such delivery shall constitute sufficient service of process.

       So ORDERED and SIGNED this 19th day of March 2025.




                                                  ____________________________________
                                                  DAVID C. GUADERRAMA
                                                  SENIOR U.S. DISTRICT JUDGE




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